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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
(NORTHERN DIVISION)

DENISE A. WINER AND JONATHAN
WINER

Plaintiffs,
v.

LABORATORY CORPORATION OF
AMERICA

Defendant.

 

 

CIVIL CASE NO:

REMOV.ED FROM THE CIRCUIT
COURT FOR BALTIMORE CITY
Case No.: 24-C-12-006246 OT

DEFENDANT LABORATORY CORPORATION OF AMERICA’S
NOTICE OF REMOVAL

In accordance With the provisions of l28 U.S.C. §§ 1331, l332(a), and 1446, Defendant

Laboratory Corporation of America (“LabCorp”) files this notice of removal. LabCorp avers as

follows:

A. INTRODUCTION

l. Plaintiffs are Denise A. Winer and Jonathan Winer. Defendant is LabCorp.

2. On October 23, 2012, Plaintiffs filed their Complaint against LabCorp in the
Circuit Court of Baltimore City, Maryland. Plaintiffs have alleged that several Pap smear slides
were misinterpreted by LabCorp, causing a delay in Mrs. Winer’s cancer diagnosis, an increase

in her morbidity, and Mrs. Winer to undergo numerous surgical procedures. Mr. Winer alleges,a

loss of consortium claim.

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3. Pursuant to 28 U.S.C. § l446(a) and Local Rule 103(5)(a), a copy of the
Complaint and Summons, Which is all of the process, pleadings, documents, and orders that have
been served upon LabCorp, is attached as Exhibit A.

4. LabCorp Was served With Plaintiffs’ Complaint on November 2, 2012. LabCorp
files this notice of removal Within the 30-day\time period required by 28 U.S.C. § l446(b).

B. BASIS FOR REMOVAL

5. LabCorp asserts that this Court has diversity jurisdiction over this matter in
accordance With 28 U.S.C. § 1332. l

6. First, the parties to this action demonstrate the required degree of diversity to
support removal. See 28 U.S.C. § l332(a), (b). Plaintiffs are citizens and residents of Baltimore
County, Maryland. See Compl. Caption; Compl. 1[1] 6-7. LabCorp’s principal place of business
is Burlington, NC, and it is incorporated in Delaware. See Compl. Caption; Decl. of Lillian
Caudle, dated Nov. 30, 2012, attached hereto as Exhibit B. Thus, the parties to this litigation are
completely diverse. l

7. Second, the amount in controversy exceeds the sum of $75,000. The amount in
controversy requirement is satisfied based on the damage allegations made in Plaintiffs’
Complaint Plaintiffs’ counsel’s has also represented to LabCorp’s counsel that the alleged
measure of Plaintiffs’ damages exceeds 875,()00. See Decl. of L. Caudle.

8. Plaintiffs did not specify in their complaint the monetary amount that they are
seeking See generally Compl. If a “plaintiff‘s complaint does not allege a specific amount in

damages, a defendant need only prove by a preponderance of the evidence that the amount in

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controversy exceeds the jurisdictional minimum.” Gallagher v. Federal Sz`gnal Corp., 524 F.
Supp. 2d 724, 726-27 (D. Md. 2007); see also 28 U.S.C. § 1446(0)(2)(B).

9. Plaintiffs’ multitude of damage allegations are more than sufficient to establish
that Plaintiffs’ claimed damages exceed $75,000. For example, Plaintiff`s allege that LabCorp’s
actions caused the following damages to Mrs. Winer:

(a) To “undergo a much more complicated and radical hysterectomy” and
numerous further medical procedures. Compl jj 25.

(b) An “inherent” increase in morbidity. Icl.

(c) A loss of income. Ia'. at 11 30

(d) To suffer from incontinence. Ia’. at 1111 31, 35.

(e) “Substantial medical bills,” both past and future. Id. at 1111 31, 35.
(f`) Permanent and disabling injuries. Ia’. at 11 35.

(g) Past and future physical pain. Ia’.

(h) “[S]evere mental anguish and fear of death” as Well as “emotional pain
and suffering.” Ia'.

(i) A decreased quality of lif`e and loss of enjoyment of life. Ia’.

(j) Requirement of medical, nursing, hospital, pharmaceutical, rehabilitative,
and custodial care. Ia’. '

10. Separately, Plaintiffs allege Mr. Winer sustained several kinds of damages,
including loss of his spouse’s companionship, services, and society; an impaired and depreciated
marital relationship; great mental anguish; and financial burden. Compl. 11 39.

11. Based upon a fair reading of the Complaint, these allegations more likely than not
assert a claim for alleged damages exceeding $75,000. See Medz'na v. Provident Lz'fe and Acc.

Ins. Co., 2011 WL 249502 at* 3 (D. Md. Jan. 24, 2011) (reasoning that the court may look to the

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entire record before it and make an independent evaluation as to whether or not the jurisdictional
amount is in issue); see also Atarz' v. McNeal, 159 F.Supp.2d 224, 225-26 (W.D.N.C. 2000)
(concluding that “the amount in controversy is not measured by the low end of an open-ended
claim, but rather by a reasonable reading of the value of the rights being litigated” (internal
citations omitted)); Lz'ly’s LLC v. Motorz'sts Mut. Ins. Co., No. 5:09-cv-122, 2010 WL 148378, at
*2 (N.D. W. Va. Jan. 12, 2010) (applying a “common sense analysis” to determine that the
plaintiff’s claims exceed the jurisdictional minimum even though the plaintiff" s complaint did
not contain specific damage allegations).

12. Furthermore, prior to filing these removal papers, LabCorp’s counsel spoke with
Plaintiffs’ counsel regarding the amount in controversy for this matter. Plaintiffs’ counsel
represented that Plaintiffs’ alleged damages exceeded $75,000. See Decl. of L. Caudle.

13. Removal to this district and division is proper because this is the district and
division embracing the place where the action is pending See 28 U.S.C. § 100; 28 U.S.C. §
1446(a).

14. Written notice of the filing of this Notice of Removal is being properly given to
the Plaintiffs and a notice of filing of notice of removal to federal court is being promptly filed
with the Clerk of the Circuit Court of Baltimore City, Maryland, as required by 28 U.S.C. §
1446(d). See Exhibit C (Notice of Filing of Notice of Removal).

15. Nothing in this Notice of Removal shall be interpreted as a waiver or
relinquishment of LabCorp’s right to assert any defense or affirmative matter including, without

limitation, the defenses of (l) lack of jurisdiction over the person; (2) improper venue; (3)

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insufficiency of process; (4) insufficiency of service of process; (5) failure to state a claim; or (6)
any other procedural or substantive defense available under state or federal law.
C. CONCLUSION
For these reasons, LabCorp respectfully removes this action from the Circuit Court of
Baltimore City, Maryland to this Court. If any question arises as to the propriety of the removal
of this action, LabCorp requests the opportunity to present a brief and oral argument in support

of its position that this case is removable

Dated: November 30, 2012 Respectfully submitted,

&,M,,`E gmc

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Attorneys for Defendant,
Laboratory Corporation of America

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CERTIFICATE OF SERVICE

I hereby certify that a true and accurate copy of the foregoing Defendant Laboratory
Corporation of America’s Notice of Removal was served by first-class U.S. Mail, postage

prepaid, this 30th day of November, 2012 upon the following:

Howard Janet

Giles H. Manely

Jason B. Penn

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Counsel for Plaintiffv

 

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